 Case: 3:22-cv-00004-GFVT-EBA           Doc #: 1 Filed: 01/13/22        Page: 1 of 7 - Page
                                          ID#: 1



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF KENTUCKY
                            FRANKFORT DIVISION

KENTUCKY LABORERS DISTRICT COUNCIL                        )
HEALTH AND WELFARE TRUST FUND;                            )
KENTUCKY LABORERS’ JOINT APPRENTICESHIP                   )
AND TRAINING TRUST FUND;                                  )
LABORERS’ NATIONAL PENSION FUND; and                      )
KENTUCKY LABORERS – EMPLOYERS                             )
COOPERATION AND EDUCATION TRUST,                          )     Case No.:
                                                          )
             Plaintiffs,                                  )
                                                          )
      vs.                                                 )
                                                          )
THE WINTER CONSTRUCTION COMPANY,                          )
a Georgia corporation,                                    )
                                                          )
             Defendant.                                   )

                                       COMPLAINT

      NOW COME the Plaintiffs, the KENTUCKY LABORERS DISTRICT COUNCIL

HEALTH AND WELFARE TRUST FUND, the KENTUCKY LABORERS’ JOINT

APPRENTICESHIP AND TRAINING TRUST FUND, the LABORERS’ NATIONAL

PENSION FUND and the KENTUCKY LABORERS – EMPLOYERS COOPERATION AND

EDUCATION TRUST, by and through their counsel, JOHNSON & KROL, LLC, complaining of

Defendant the WINTER CONSTRUCTION COMPANY, and allege as follows:

                              JURISDICTION AND VENUE

1.    This action arises under Sections 502 and 515 of the Employee Retirement Income Security

      Act (hereinafter referred to as “ERISA”). (29 U.S.C. §§ 1132 and 1145). The Court has

      jurisdiction over the subject matter of this action pursuant to 29 U.S.C. § 1132(e)(1) and

      28 U.S.C. § 1331.




                                         Page 1 of 7
 Case: 3:22-cv-00004-GFVT-EBA          Doc #: 1 Filed: 01/13/22          Page: 2 of 7 - Page
                                         ID#: 2



2.   Venue is proper in this Court pursuant to 29 U.S.C. § 1132(e)(2) in that the KENTUCKY

     LABORERS DISTRICT COUNCIL HEALTH AND WELFARE TRUST FUND is

     located and administered at 1996 Bypass South, Lawrenceburg, Anderson County,

     Kentucky in the Eastern District of Kentucky, Frankfort Division.

                                        PARTIES

3.   The KENTUCKY LABORERS DISTRICT COUNCIL HEALTH AND WELFARE

     TRUST      FUND      (“WELFARE       FUND”),     KENTUCKY           LABORERS’      JOINT

     APPRENTICESHIP AND TRAINING TRUST FUND (“TRAINING FUND”) and

     LABORERS’ NATIONAL PENSION FUND (“PENSION FUND”) (collectively

     “TRUST FUNDS”) are Taft-Hartley benefit funds which provide benefits to their

     participants and, therefore, are multiemployer plans under 29 U.S.C. § 1002.

4.   The TRUST FUNDS are fiduciaries within the meaning of Section 3(21)(A) of ERISA, 29

     U.S.C. § 1002(21)(8), and are authorized to bring lawsuits on behalf of their participants

     and beneficiaries.

5.   The KENTUCKY LABORERS - EMPLOYERS COOPERATION AND EDUCATION

     TRUST (“LECET”) is a labor management cooperation committee that is jointly

     administered by the Kentucky Laborers District Council (“District Council”) and

     construction industry employers in Lawrenceburg, Kentucky.

6.   The LECET is the collection agent for the Ohio Valley and Southern States Laborers

     Employers Cooperation and Education Trust.

7.   The TRUST FUNDS and LECET are also third-party beneficiaries of the collective

     bargaining agreements between the employers and various local unions, including

     Laborers’ Local Union No. 1392 affiliated with the District Council.




                                        Page 2 of 7
 Case: 3:22-cv-00004-GFVT-EBA            Doc #: 1 Filed: 01/13/22         Page: 3 of 7 - Page
                                           ID#: 3



8.    The WINTER CONSTRUCTION COMPANY (“WINTER”) is a Georgia corporation

      with its principal place of business located at 5616 Peachtree Road, Suite 100, Atlanta,

      Georgia 30341.

                                     COUNT I
                         BREACH OF THE LABOR AGREEMENT

9.    Plaintiffs re-allege and incorporate the allegations contained in paragraphs 1-8 of this

      Complaint with the same force and effect as if fully set forth herein.

10.   WINTER is an employer engaged in an industry affecting commerce which agreed to be

      bound by the terms of a Project Maintenance and Modification Agreement (“PMMA”) for

      work performed for the Tennessee Valley Authority (“TVA”), with several international

      unions, including the Laborers’ International Union of North America (“LIUNA”). (A

      copy of the PMMA is attached hereto as Exhibit 1); (A copy of the Project Agreement

      signed by WINTER on February 22, 2021, is attached as Exhibit 2).

11.   The TVA Paradise Power Plant project is within Laborers’ Local Union No. 1392’s

      jurisdiction.

12.   Article 12, Paragraph 2 of the PMMA provides in part as follows:

                The Contractor and covered Subcontractors shall make health and welfare
                and pension trust contributions to the applicable fund identified by the
                Council, but shall not otherwise sign trust fund participation agreements
                unless legally required per the trust documents.

      (Exhibit 1).

13.   The wage and contribution rates for each trade are set by the PMMA. (Exhibit 1; PMMA,

      Ex. A).




                                           Page 3 of 7
 Case: 3:22-cv-00004-GFVT-EBA            Doc #: 1 Filed: 01/13/22          Page: 4 of 7 - Page
                                           ID#: 4



14.   The wage schedule, effective the first pay period after January 1, 2021, contains language

      that states “Health and Welfare and Pension contributions may vary for some crafts by

      local area from those listed in this exhibit.” (Exhibit 1; PMMA, Ex.A, Endnote 1(a)).

15.   For work performed in Laborers’ Local Union No. 1392’s jurisdiction, the hourly

      contribution rates to the TRUST FUNDS and LECET during 2021 were as follows:

                             Fund:               Hourly Contribution Rate:
                  PENSION FUND                                           $3.40
                  WELFARE FUND                                           $8.20
                  TRAINING FUND                                          $0.38
                  LECET                                                  $0.10

      (A copy of a December 22, 2020 letter sent to TVA contractors by Laborers’ Local Union

      No. 1392 is attached as Exhibit 3).

16.   As an employer who pays contributions to the TRUST FUNDS, WINTER is bound to the

      terms of TRUST FUND’s Agreements and Declarations of Trust (“Trust Agreements”).

17.   Pursuant to the Delinquency, Audit, and Other Payment Procedures (“Collection

      Procedures”) adopted by the TRUST FUNDS, contributions are due and payable on or

      before the tenth (10th) day of the month immediately preceding the Eligibility Month for

      which the contributions are being paid. (A copy of the Collection Procedures is attached

      as Exhibit 4).

18.   Pursuant to the Collection Procedures, employers who fail to submit their monthly

      contribution reports and contributions to the TRUST FUNDS on a timely basis are

      responsible for payment of liquidated damages at a rate of ten percent (10%) of the

      delinquent contributions, interest at the rate of ten percent (10%) per annum, plus attorneys’

      fees and costs. (Exhibit 4).




                                            Page 4 of 7
 Case: 3:22-cv-00004-GFVT-EBA              Doc #: 1 Filed: 01/13/22         Page: 5 of 7 - Page
                                             ID#: 5



19.   In order to verify WINTER’s compliance with the PMMA, the TRUST FUNDS and

      LECET hired an independent reviewer to conduct a payroll compliance audit of

      WINTER’s payroll books and records for the period of April 1, 2021, through September

      30, 2021.

20.   The audit revealed that WINTER failed to make required contributions for work performed

      at the TVA Paradise Power Plant by its laborer employees to the TRUST FUNDS and

      LECET in the amount of $35,551.44, which resulted in liquidated damages and interest of

      $4,819.89, itemized as follows:

             Fund:           Contributions:       Interest:          LDs:             Total:
       PENSION FUND                $10,006.20        $355.97         $1,000.62        $11,362.79
       WELFARE
                                   $24,132.60        $858.52         $2,413.26        $27,404.38
       FUND
       TRAINING
                                    $1,118.34             $39.80        $111.83        $1,269.97
       FUND
       LECET                            $294.30           $10.46         $29.43         $334.19
                                   $35,551.44       $1,264.75        $3,555.14        $40,371.33

      (A redacted copy of the Audit Report is attached as Exhibit 5).

21.   WINTER has a continuing obligation to pay contributions to the TRUST FUNDS and

      LECET for work performed by its laborer employees at the TVA Paradise Power Plant

      project. As a result, WINTER may owe additional amounts over and above what is

      identified in the audit report.

22.   Plaintiffs have been required to employ the undersigned attorneys to collect the monies

      that are due and owing by WINTER.

23.   Plaintiffs have complied with all conditions precedent in bringing this suit.




                                            Page 5 of 7
 Case: 3:22-cv-00004-GFVT-EBA            Doc #: 1 Filed: 01/13/22          Page: 6 of 7 - Page
                                           ID#: 6



24.    WINTER is obligated to pay the attorneys’ fees and court costs incurred by the Plaintiffs

       pursuant to the PMMA, Trust Agreements, Collections Procedures and 29 U.S.C.

       §1132(g)(2)(D).

WHEREFORE, Plaintiffs respectfully request the following relief:

A.     That Judgment be entered in favor of Plaintiffs and against WINTER in the aggregate

       amount of $40,371.33, itemized as follows:

       i.      $10,006.20 in delinquent contributions to the PENSION FUND;

       ii.     $1,356.59 in liquidated damages and interest to the PENSION FUND for the

               untimely payment of contributions;

       iii.    $24,132.60 in delinquent contributions to the WELFARE FUND;

       iv.     $3,271.78 in liquidated damages and interest to the WELFARE FUND for the

               untimely payment of contributions;

       v.      $1,118.34 in delinquent contributions to the TRAINING FUND;

       vi.     $151.63 in liquidated damages and interest to the TRAINING FUND for the

               untimely payment of contributions;

       vii.    $294.30 in delinquent contributions to LECET; and

       viii.   $39.89 in liquidated damages and interest to LECET for the untimely payment of

               contributions.

B.     That WINTER be ordered to pay the reasonable attorneys’ fees and costs incurred by the

       Plaintiffs pursuant to the PMMA, Trust Agreements, Collections Procedures and 29 U.S.C.

       §1132(g)(2)(D); and

C.     That Plaintiffs have such other and further relief as the Court may deem just and equitable,

       all at the cost of WINTER, pursuant to 29 U.S.C. §1132(g)(2)(E).




                                           Page 6 of 7
Case: 3:22-cv-00004-GFVT-EBA   Doc #: 1 Filed: 01/13/22      Page: 7 of 7 - Page
                                 ID#: 7




                                         Respectfully Submitted,

                                         KENTUCKY LABORERS DISTRICT
                                         COUNCIL HEALTH AND WELFARE
                                         FUND et al.

                                         /s/ Dennis R. Johnson
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                                Page 7 of 7
